Case 4:20-cv-00957-SDJ Document 349-16 Filed 04/09/24 Page 1 of 11 PageID #: 9603




                            EXHIBIT O
       Case 4:20-cv-00957-SDJ Document 349-16 Filed 04/09/24 Page 2 of 11 PageID #: 9604


Lee, Kenina J.

From:                                Geraldine W. Young <geraldine.young@nortonrosefulbright.com>
Sent:                                Tuesday, April 2, 2024 6:26 PM
To:                                  Lee, Kenina J.; Sara; 'Audrey Moore'; Zeke DeRose III; Jonathan Wilkerson; Alex J.
                                     Brown; Marc B. Collier; John McBride; Peter M. Hillegas; Trevor Young; Noah Heinz;
                                     Zina Bash; Joseph M. Graham Jr.; Ashley Keller; Brooke Smith; jdugan@dugan-
                                     lawfirm.com
Cc:                                  Bitton, Daniel S.; Justina (JKS; Justus, Bradley; Paul Yetter; Mollie; Eric (EJM; Robert; Julie
                                     (JSE; Harkrider, John D.; Hunsberger, James K.; Pearl, David; Vissichelli, Allison M.; Bryce
                                     Callahan; Andrew (AJE
Subject:                             RE: State of Texas v Google - Deposition Notices


Caution:External Email



Counsel,

See below our responses to your questions regarding Mr. Mohan’s deposition noticed in this case:

      (1) Plaintiffs’ position regarding the implications of the Coordination Order in the MDL case for their deposition
          notice of Mr. Mohan.

We have reviewed the MDL Coordination Order, and it states that: “Any witness appearing at a Google deposition or a
Non‐Party Deposition taken during the Coordinated Discovery Period cannot be compelled to sit for a second deposition
in any Coordinated Case … absent good cause shown to the Court in the Coordinated Case for which the subsequent
deposition of the witness is noticed.” MDL Dkt. 564 at 9. Our case in the Eastern District of Texas is not a “Coordinated
Case,” defined in the MDL Order as “the MDL or the Virginia Case.” And, as you know, no coordination order is in effect
in our Texas case. Thus, the MDL Coordination Order does not bar or limit a second deposition of any witness, including
Mr. Mohan, in our Texas case because our case is not a “Coordinated Case.” The express language of the MDL
Coordination Order resolves this issue. As to the timing issues we discussed, the Second Circuit denied Google’s
mandamus petition on October 4, 2023, before Mr. Mohan’s deposition later in October and following which the States’
case returned to the Eastern District of Texas.

      (2) Plaintiffs’ position as to why they believe they have good cause to re‐depose Mr. Mohan.

As shown above, the States do not need to show good cause because this case is not a Coordinated Case subject to the
good cause requirement in the MDL Coordination Order. In any event, the States received Google productions
containing relevant documents associated with Mr. Mohan after his deposition in October 2023 that would be good
cause for his deposition in this case, even if this case were subject to the coordination order.



From: Lee, Kenina J. <klee@axinn.com>
Sent: Friday, March 29, 2024 3:55 PM
To: Geraldine W. Young <geraldine.young@nortonrosefulbright.com>; Sara <Sara.Salem@freshfields.com>; 'Audrey
Moore' <Audrey.Moore@LanierLawFirm.com>; Zeke DeRose III <zeke.derose@lanierlawfirm.com>; Jonathan Wilkerson
<Jonathan.Wilkerson@LanierLawFirm.com>; Alex J. Brown <Alex.Brown@LanierLawFirm.com>; Marc B. Collier
<marc.collier@nortonrosefulbright.com>; John McBride <john.mcbride@nortonrosefulbright.com>; Peter M. Hillegas
<peter.hillegas@nortonrosefulbright.com>; Trevor Young <trevor.young@oag.texas.gov>; Noah Heinz
                                                                 1
     Case 4:20-cv-00957-SDJ Document 349-16 Filed 04/09/24 Page 3 of 11 PageID #: 9605

<Noah.Heinz@kellerpostman.com>; Zina Bash <zina.bash@kellerpostman.com>; Joseph M. Graham Jr.
<joseph.graham@nortonrosefulbright.com>; Ashley Keller <ack@kellerpostman.com>; Brooke Smith
<brooke.smith@kellerlenkner.com>; jdugan@dugan‐lawfirm.com
Cc: Bitton, Daniel S. <dbitton@axinn.com>; Justina (JKS <Justina.Sessions@freshfields.com>; Justus, Bradley
<bjustus@axinn.com>; Paul Yetter <pyetter@yettercoleman.com>; Mollie <mbracewell@yettercoleman.com>; Eric (EJM
<Eric.MAHR@freshfields.com>; Robert <rob.mccallum@freshfields.com>; Julie (JSE <Julie.Elmer@freshfields.com>;
Harkrider, John D. <jharkrider@axinn.com>; Hunsberger, James K. <jhunsberger@axinn.com>; Pearl, David
<dpearl@axinn.com>; Vissichelli, Allison M. <avissichelli@axinn.com>; Bryce Callahan <bcallahan@yettercoleman.com>;
Andrew (AJE <Andrew.Ewalt@freshfields.com>
Subject: FW: State of Texas v Google ‐ Deposition Notices

Dear Geraldine,

Following up on our meet and confer earlier today, we understand that Plaintiffs will get back to us on the
following issues:

   (1) Plaintiffs’ position regarding the implications of the Coordination Order in the MDL case for their
       deposition notice of Mr. Mohan.

   (2) Plaintiffs’ position as to why they believe they have good cause to re-depose Mr. Mohan.

We understand that you will aim to provide us answers to the questions early next week and are available for
another meet and confer once you have responded. In the meantime, if you have any questions, please do not
hesitate to reach out.

Best regards,
Kenina


Kenina J. Lee
Counsel




Axinn, Veltrop & Harkrider LLP
1901 L Street NW
Washington, DC 20036
Office 202.721.5410
Fax 202.912.4701
klee@axinn.com
Axinn.com




From: Bitton, Daniel S. <dbitton@axinn.com>
Sent: Thursday, March 28, 2024 12:17 PM
To: Geraldine W. Young <geraldine.young@nortonrosefulbright.com>; SALEM, Sara <Sara.Salem@freshfields.com>;
'Audrey Moore' <Audrey.Moore@LanierLawFirm.com>; Zeke DeRose III <zeke.derose@lanierlawfirm.com>; Jonathan
Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com>; Alex J. Brown <Alex.Brown@LanierLawFirm.com>; Marc B.
Collier <marc.collier@nortonrosefulbright.com>; John McBride <john.mcbride@nortonrosefulbright.com>; Peter M.
Hillegas <peter.hillegas@nortonrosefulbright.com>; Trevor E. D. Young (trevor.young@oag.texas.gov)
<trevor.young@oag.texas.gov>; Noah Heinz <Noah.Heinz@kellerpostman.com>; Zina Bash
<zina.bash@kellerpostman.com>; Joseph M. Graham Jr. <joseph.graham@nortonrosefulbright.com>; Ashley Keller
                                                         2
     Case 4:20-cv-00957-SDJ Document 349-16 Filed 04/09/24 Page 4 of 11 PageID #: 9606

<ack@kellerpostman.com>; Brooke Smith <brooke.smith@kellerlenkner.com>; jdugan@dugan‐lawfirm.com
Cc: SESSIONS, Justina (JKS) <Justina.Sessions@freshfields.com>; Justus, Bradley <bjustus@axinn.com>; Paul Yetter
<pyetter@yettercoleman.com>; Bracewell, Mollie <mbracewell@yettercoleman.com>; MAHR, Eric (EJM)
<Eric.MAHR@freshfields.com>; MCCALLUM, Robert <rob.mccallum@freshfields.com>; ELMER, Julie (JSE)
<Julie.Elmer@freshfields.com>; Harkrider, John D. <jharkrider@axinn.com>; Hunsberger, James K.
<jhunsberger@axinn.com>; Pearl, David <dpearl@axinn.com>; Vissichelli, Allison M. <avissichelli@axinn.com>; Bryce
Callahan <bcallahan@yettercoleman.com>; EWALT, Andrew (AJE) <Andrew.Ewalt@freshfields.com>
Subject: Re: State of Texas v Google ‐ Deposition Notices

Thanks, Geraldine. We will circulate an invite and look forward to speaking tomorrow. We understand that
the current date noticed for Mr. Mohan’s deposition serves as a placeholder. But for the avoidance of doubt,
Mr. Mohan's deposition will not go forward on Monday, April 1.


Daniel S. Bitton
Partner




Axinn, Veltrop & Harkrider LLP
55 Second Street
San Francisco, CA 94105
Office 415.490.1486
Fax 415.490.2001
dbitton@axinn.com
Axinn.com

Pronouns | He, Him, His




From: "Geraldine W. Young" <geraldine.young@nortonrosefulbright.com>
Sent: Thursday, March 28, 2024 6:26 AM
To: Bitton, Daniel S.; SALEM, Sara; 'Audrey Moore'; Zeke DeRose III; Jonathan Wilkerson; Alex J. Brown; Marc B. Collier;
John McBride; Peter M. Hillegas; Trevor E. D. Young (trevor.young@oag.texas.gov); Noah Heinz; Zina Bash; Joseph M.
Graham Jr.; Ashley Keller; Brooke Smith; jdugan@dugan‐lawfirm.com
Cc: SESSIONS, Justina (JKS); Justus, Bradley; Paul Yetter; Bracewell, Mollie; MAHR, Eric (EJM); MCCALLUM, Robert;
ELMER, Julie (JSE); Harkrider, John D.; Hunsberger, James K.; Pearl, David; Vissichelli, Allison M.; Bryce Callahan; EWALT,
Andrew (AJE)
Subject: RE: State of Texas v Google ‐ Deposition Notices


Caution:External Email



Yes, we are available during the Friday timeframe below. Thanks, Geraldine



                                                             3
     Case 4:20-cv-00957-SDJ Document 349-16 Filed 04/09/24 Page 5 of 11 PageID #: 9607

From: Bitton, Daniel S. <dbitton@axinn.com>
Sent: Wednesday, March 27, 2024 5:09 PM
To: SALEM, Sara <Sara.Salem@freshfields.com>; Geraldine W. Young
<geraldine.young@nortonrosefulbright.com>; 'Audrey Moore' <Audrey.Moore@LanierLawFirm.com>; Zeke
DeRose III <zeke.derose@lanierlawfirm.com>; Jonathan Wilkerson
<Jonathan.Wilkerson@LanierLawFirm.com>; Alex J. Brown <Alex.Brown@LanierLawFirm.com>; Marc B.
Collier <marc.collier@nortonrosefulbright.com>; John McBride <john.mcbride@nortonrosefulbright.com>;
Peter M. Hillegas <peter.hillegas@nortonrosefulbright.com>; Trevor E. D. Young
(trevor.young@oag.texas.gov) <trevor.young@oag.texas.gov>; Noah Heinz
<Noah.Heinz@kellerpostman.com>; Zina Bash <zina.bash@kellerpostman.com>; Joseph M. Graham Jr.
<joseph.graham@nortonrosefulbright.com>; Ashley Keller <ack@kellerpostman.com>; Brooke Smith
<brooke.smith@kellerlenkner.com>; jdugan@dugan-lawfirm.com
Cc: SESSIONS, Justina (JKS) <Justina.Sessions@freshfields.com>; Justus, Bradley <bjustus@axinn.com>;
Paul Yetter <pyetter@yettercoleman.com>; Bracewell, Mollie <mbracewell@yettercoleman.com>; MAHR,
Eric (EJM) <Eric.MAHR@freshfields.com>; MCCALLUM, Robert <rob.mccallum@freshfields.com>;
ELMER, Julie (JSE) <Julie.Elmer@freshfields.com>; Harkrider, John D. <jharkrider@axinn.com>;
Hunsberger, James K. <jhunsberger@axinn.com>; Pearl, David <dpearl@axinn.com>; Vissichelli, Allison M.
<avissichelli@axinn.com>; Bryce Callahan <bcallahan@yettercoleman.com>; EWALT, Andrew (AJE)
<Andrew.Ewalt@freshfields.com>
Subject: RE: State of Texas v Google - Deposition Notices

Counsel,

We would also like to meet and confer regarding your deposition notice to Mr. Mohan. Are you
available for a meet and confer about that tomorrow (Thursday March 27) 3-4 pm ET or after 5:30 pm
ET, or on Friday 12-2 pm ET?


Daniel S. Bitton
Partner




Axinn, Veltrop & Harkrider LLP
55 Second Street
San Francisco, CA 94105
Office 415.490.1486
Fax 415.490.2001
dbitton@axinn.com
Axinn.com

Pronouns | He, Him, His




From: SALEM, Sara <Sara.Salem@freshfields.com>
Sent: Wednesday, March 27, 2024 8:06 AM
To: Geraldine W. Young <geraldine.young@nortonrosefulbright.com>; 'Audrey Moore'
<Audrey.Moore@LanierLawFirm.com>; Zeke DeRose III <zeke.derose@lanierlawfirm.com>; Jonathan
                                                   4
     Case 4:20-cv-00957-SDJ Document 349-16 Filed 04/09/24 Page 6 of 11 PageID #: 9608

Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com>; Alex J. Brown <Alex.Brown@LanierLawFirm.com>;
Marc B. Collier <marc.collier@nortonrosefulbright.com>; John McBride
<john.mcbride@nortonrosefulbright.com>; Peter M. Hillegas <peter.hillegas@nortonrosefulbright.com>;
Trevor E. D. Young (trevor.young@oag.texas.gov) <trevor.young@oag.texas.gov>; Noah Heinz
<Noah.Heinz@kellerpostman.com>; Zina Bash <zina.bash@kellerpostman.com>; Joseph M. Graham Jr.
<joseph.graham@nortonrosefulbright.com>; Ashley Keller <ack@kellerpostman.com>; Brooke Smith
<brooke.smith@kellerlenkner.com>; jdugan@dugan-lawfirm.com
Cc: SESSIONS, Justina (JKS) <Justina.Sessions@freshfields.com>; Justus, Bradley <bjustus@axinn.com>;
Paul Yetter <pyetter@yettercoleman.com>; Bracewell, Mollie <mbracewell@yettercoleman.com>; MAHR,
Eric (EJM) <Eric.MAHR@freshfields.com>; MCCALLUM, Robert <rob.mccallum@freshfields.com>;
ELMER, Julie (JSE) <Julie.Elmer@freshfields.com>; Harkrider, John D. <jharkrider@axinn.com>; Bitton,
Daniel S. <dbitton@axinn.com>; Hunsberger, James K. <jhunsberger@axinn.com>; Pearl, David
<dpearl@axinn.com>; Vissichelli, Allison M. <avissichelli@axinn.com>; Bryce Callahan
<bcallahan@yettercoleman.com>; EWALT, Andrew (AJE) <Andrew.Ewalt@freshfields.com>
Subject: RE: State of Texas v Google - Deposition Notices


Caution:External Email



Counsel –

We would like to meet and confer again regarding your deposition notices to Mr. Brin and Mr. Pichai. Are you available to
discuss today between 3-5pm CT / 4-6pm ET?

Thanks,
Sara

Sara Salem
Senior Associate
T+1 202 777 4529| M +1 202 853 0381




From: Geraldine W. Young <geraldine.young@nortonrosefulbright.com>
Sent: Friday, March 22, 2024 6:37 PM
To: SALEM, Sara <Sara.Salem@freshfields.com>; 'Audrey Moore' <Audrey.Moore@LanierLawFirm.com>;
Zeke DeRose III <zeke.derose@lanierlawfirm.com>; Jonathan Wilkerson
<Jonathan.Wilkerson@LanierLawFirm.com>; Alex J. Brown <Alex.Brown@LanierLawFirm.com>; Marc B.
Collier <marc.collier@nortonrosefulbright.com>; John McBride <john.mcbride@nortonrosefulbright.com>;
Peter M. Hillegas <peter.hillegas@nortonrosefulbright.com>; Trevor E. D. Young
(trevor.young@oag.texas.gov) <trevor.young@oag.texas.gov>; Noah Heinz
<Noah.Heinz@kellerpostman.com>; Zina Bash <zina.bash@kellerpostman.com>; Joseph M. Graham Jr.
<joseph.graham@nortonrosefulbright.com>; Ashley Keller <ack@kellerpostman.com>; Brooke Smith
<brooke.smith@kellerlenkner.com>; jdugan@dugan-lawfirm.com
Cc: SESSIONS, Justina (JKS) <Justina.Sessions@freshfields.com>; Bradley Justus <bjustus@axinn.com>;
Paul Yetter <pyetter@yettercoleman.com>; Bracewell, Mollie <mbracewell@yettercoleman.com>; MAHR,
Eric (EJM) <Eric.MAHR@freshfields.com>; MCCALLUM, Robert <rob.mccallum@freshfields.com>;
ELMER, Julie (JSE) <Julie.Elmer@freshfields.com>; John Harkrider <jharkrider@axinn.com>; Daniel Bitton
<dbitton@axinn.com>; jhunsberger@axinn.com; dpearl@axinn.com; Ali Vissichelli
<avissichelli@axinn.com>; Bryce Callahan <bcallahan@yettercoleman.com>; EWALT, Andrew (AJE)
<Andrew.Ewalt@freshfields.com>
Subject: RE: State of Texas v Google - Deposition Notices
                                                            5
     Case 4:20-cv-00957-SDJ Document 349-16 Filed 04/09/24 Page 7 of 11 PageID #: 9609


We can talk at noon on Monday. Thanks, Geraldine

From: SALEM, Sara <Sara.Salem@freshfields.com>
Sent: Friday, March 22, 2024 10:30 AM
To: Geraldine W. Young <geraldine.young@nortonrosefulbright.com>; 'Audrey Moore'
<Audrey.Moore@LanierLawFirm.com>; Zeke DeRose III <zeke.derose@lanierlawfirm.com>; Jonathan
Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com>; Alex J. Brown <Alex.Brown@LanierLawFirm.com>;
Marc B. Collier <marc.collier@nortonrosefulbright.com>; John McBride
<john.mcbride@nortonrosefulbright.com>; Peter M. Hillegas <peter.hillegas@nortonrosefulbright.com>;
Trevor E. D. Young (trevor.young@oag.texas.gov) <trevor.young@oag.texas.gov>; Noah Heinz
<Noah.Heinz@kellerpostman.com>; Zina Bash <zina.bash@kellerpostman.com>; Joseph M. Graham Jr.
<joseph.graham@nortonrosefulbright.com>; Ashley Keller <ack@kellerpostman.com>; Brooke Smith
<brooke.smith@kellerlenkner.com>; jdugan@dugan-lawfirm.com
Cc: SESSIONS, Justina (JKS) <Justina.Sessions@freshfields.com>; Bradley Justus <bjustus@axinn.com>;
Paul Yetter <pyetter@yettercoleman.com>; Bracewell, Mollie <mbracewell@yettercoleman.com>; MAHR,
Eric (EJM) <Eric.MAHR@freshfields.com>; MCCALLUM, Robert <rob.mccallum@freshfields.com>;
ELMER, Julie (JSE) <Julie.Elmer@freshfields.com>; John Harkrider <jharkrider@axinn.com>; Daniel Bitton
<dbitton@axinn.com>; jhunsberger@axinn.com; dpearl@axinn.com; Ali Vissichelli
<avissichelli@axinn.com>; Bryce Callahan <bcallahan@yettercoleman.com>; EWALT, Andrew (AJE)
<Andrew.Ewalt@freshfields.com>
Subject: RE: State of Texas v Google - Deposition Notices

Hi Geraldine –

We are available to meet and confer Monday at 8am CT or 12pm CT.

Thanks,
Sara

Sara Salem
Senior Associate
T+1 202 777 4529| M +1 202 853 0381




From: Geraldine W. Young <geraldine.young@nortonrosefulbright.com>
Sent: Friday, March 22, 2024 8:51 AM
To: SALEM, Sara <Sara.Salem@freshfields.com>; 'Audrey Moore' <Audrey.Moore@LanierLawFirm.com>;
Zeke DeRose III <zeke.derose@lanierlawfirm.com>; Jonathan Wilkerson
<Jonathan.Wilkerson@LanierLawFirm.com>; Alex J. Brown <Alex.Brown@LanierLawFirm.com>; Marc B.
Collier <marc.collier@nortonrosefulbright.com>; John McBride <john.mcbride@nortonrosefulbright.com>;
Peter M. Hillegas <peter.hillegas@nortonrosefulbright.com>; Trevor E. D. Young
(trevor.young@oag.texas.gov) <trevor.young@oag.texas.gov>; Noah Heinz
<Noah.Heinz@kellerpostman.com>; Zina Bash <zina.bash@kellerpostman.com>; Joseph M. Graham Jr.
<joseph.graham@nortonrosefulbright.com>; Ashley Keller <ack@kellerpostman.com>; Brooke Smith
<brooke.smith@kellerlenkner.com>; jdugan@dugan-lawfirm.com
Cc: SESSIONS, Justina (JKS) <Justina.Sessions@freshfields.com>; Bradley Justus <bjustus@axinn.com>;
Paul Yetter <pyetter@yettercoleman.com>; Bracewell, Mollie <mbracewell@yettercoleman.com>; MAHR,
Eric (EJM) <Eric.MAHR@freshfields.com>; MCCALLUM, Robert <rob.mccallum@freshfields.com>;
ELMER, Julie (JSE) <Julie.Elmer@freshfields.com>; John Harkrider <jharkrider@axinn.com>; Daniel Bitton
<dbitton@axinn.com>; jhunsberger@axinn.com; dpearl@axinn.com; Ali Vissichelli
<avissichelli@axinn.com>; Bryce Callahan <bcallahan@yettercoleman.com>; EWALT, Andrew (AJE)

                                                       6
        Case 4:20-cv-00957-SDJ Document 349-16 Filed 04/09/24 Page 8 of 11 PageID #: 9610

<Andrew.Ewalt@freshfields.com>
Subject: Re: State of Texas v Google - Deposition Notices

Sara - That time does not work for us today. We can talk Monday afternoon or Tuesday morning - let us know
times that work then.

Thanks, Geraldine

From: SALEM, Sara <Sara.Salem@freshfields.com>
Sent: Thursday, March 21, 2024 6:45:42 PM
To: 'Audrey Moore' <Audrey.Moore@LanierLawFirm.com>; Zeke DeRose III
<zeke.derose@lanierlawfirm.com>; Jonathan Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com>; Alex J.
Brown <Alex.Brown@LanierLawFirm.com>; Marc B. Collier <marc.collier@nortonrosefulbright.com>; John
McBride <john.mcbride@nortonrosefulbright.com>; Peter M. Hillegas
<peter.hillegas@nortonrosefulbright.com>; Trevor E. D. Young (trevor.young@oag.texas.gov)
<trevor.young@oag.texas.gov>; Noah Heinz <Noah.Heinz@kellerpostman.com>; Zina Bash
<zina.bash@kellerpostman.com>; Joseph M. Graham Jr. <joseph.graham@nortonrosefulbright.com>; Ashley
Keller <ack@kellerpostman.com>; Brooke Smith <brooke.smith@kellerlenkner.com>; jdugan@dugan-
lawfirm.com <jdugan@dugan-lawfirm.com>; Geraldine W. Young
<geraldine.young@nortonrosefulbright.com>
Cc: SESSIONS, Justina (JKS) <Justina.Sessions@freshfields.com>; Bradley Justus <bjustus@axinn.com>;
Paul Yetter <pyetter@yettercoleman.com>; Bracewell, Mollie <mbracewell@yettercoleman.com>; MAHR,
Eric (EJM) <Eric.MAHR@freshfields.com>; MCCALLUM, Robert <rob.mccallum@freshfields.com>;
ELMER, Julie (JSE) <Julie.Elmer@freshfields.com>; John Harkrider <jharkrider@axinn.com>; Daniel Bitton
<dbitton@axinn.com>; jhunsberger@axinn.com <jhunsberger@axinn.com>; dpearl@axinn.com
<dpearl@axinn.com>; Ali Vissichelli <avissichelli@axinn.com>; Bryce Callahan
<bcallahan@yettercoleman.com>; EWALT, Andrew (AJE) <Andrew.Ewalt@freshfields.com>
Subject: RE: State of Texas v Google - Deposition Notices


[External Email – Use Caution]



Counsel –




We would like to meet and confer with you regarding your deposition notices to Mr. Brin and Mr. Pichai. We will respond
separately regarding the other notices that you served on Tuesday night.




Are you available tomorrow between 3 and 4 CT?




Best,

Sara



                                                           7
      Case 4:20-cv-00957-SDJ Document 349-16 Filed 04/09/24 Page 9 of 11 PageID #: 9611
Sara Salem
Senior Associate

T+1 202 777 4529| M +1 202 853 0381




From: Audrey Moore <Audrey.Moore@LanierLawFirm.com>
Sent: Tuesday, March 19, 2024 9:40:18 PM
To: Bradley Justus <bjustus@axinn.com>; Paul Yetter <pyetter@yettercoleman.com>; Bracewell, Mollie
<mbracewell@yettercoleman.com>; MAHR, Eric (EJM) <Eric.MAHR@freshfields.com>; MCCALLUM,
Robert <rob.mccallum@freshfields.com>; ELMER, Julie (JSE) <Julie.Elmer@freshfields.com>; John
Harkrider <jharkrider@axinn.com>; Daniel Bitton <dbitton@axinn.com>; dpearl@axinn.com
<dpearl@axinn.com>; Ali Vissichelli <avissichelli@axinn.com>; Ali Vissichelli <avissichelli@axinn.com>;
Bryce Callahan <bcallahan@yettercoleman.com>; EWALT, Andrew (AJE) <Andrew.Ewalt@freshfields.com>;
Bryce Callahan <bcallahan@yettercoleman.com>
Cc: Zeke DeRose III <Zeke.DeRose@LanierLawFirm.com>; Jonathan Wilkerson
<Jonathan.Wilkerson@LanierLawFirm.com>; Alex J. Brown <Alex.Brown@LanierLawFirm.com>; Marc B.
Collier <marc.collier@nortonrosefulbright.com>; John McBride <john.mcbride@nortonrosefulbright.com>;
Peter M. Hillegas <peter.hillegas@nortonrosefulbright.com>; Trevor Young <trevor.young@oag.texas.gov>;
Noah Heinz <Noah.Heinz@kellerpostman.com>; Zina Bash <zina.bash@kellerpostman.com>; Joseph M.
Graham Jr. <joseph.graham@nortonrosefulbright.com>; Ashley Keller <ack@kellerpostman.com>; Brooke
Smith <brooke.smith@kellerlenkner.com>; jdugan@dugan-lawfirm.com <jdugan@dugan-lawfirm.com>;
Geraldine W. Young <geraldine.young@nortonrosefulbright.com>
Subject: RE: State of Texas v Google - Deposition Notices



The Plaintiff States hereby serve the attached Notices of Deposition in the State of Texas et al. v. Google LLC
case, No. 4:20-cv-00957-SDJ.



While the Plaintiff States have included dates, times, and locations for the noticed depositions, they are willing
to confer and work with Google on different dates, times, and locations as long as the depositions take place
well in advance of the fact discovery cutoff.



Thank you.



Zeke DeRose III




                                                         8
    Case 4:20-cv-00957-SDJ Document 349-16 Filed 04/09/24 Page 10 of 11 PageID #: 9612

                          Audrey Moore
                          Paralegal
                          p: 713-659-5200
                          10940 West Sam Houston Pkwy N, Suite 100
                          Houston • Texas • 77064
                          www.LanierLawFirm.com




Audrey Moore - Paralegal p: 713-659-5200 w: www.LanierLawFirm.com

This e-mail is confidential and may be legally privileged. If you have received it in error, you are on notice of its status.
Please notify us immediately by reply e-mail and then delete this message from your system. Please do not copy it, use it
for any purpose or disclose its contents to any other person; to do so could be a breach of confidentiality. Thank you for
your cooperation. Please contact our IT Helpdesk at GlobalITServiceDesk@freshfields.com if you need assistance.

Freshfields Bruckhaus Deringer US LLP has offices in New York, Silicon Valley and Washington, DC. Freshfields
Bruckhaus Deringer LLP is a limited liability partnership registered in England and Wales with registered number
OC334789, and has offices or associated entities in Austria, Bahrain, Belgium, China, England, France, Germany, Hong
Kong, Italy, Japan, the Netherlands, Singapore, Spain, the United Arab Emirates and Vietnam.

Any reference to a partner means a member, or a consultant or employee with equivalent standing and qualifications, of
Freshfields Bruckhaus Deringer US LLP, Freshfields Bruckhaus Deringer LLP or any associated firms or entities.

For information about how Freshfields Bruckhaus Deringer processes personal data please refer to this Privacy notice.
For further information about Freshfields Bruckhaus Deringer, please refer to our website at www.freshfields.com.




CONFIDENTIALITY NOTICE: This email, including any attachments, is confidential and may be privileged. If you are not
the intended recipient please notify the sender immediately, and please delete it; you should not copy it or use it for any
purpose or disclose its contents to any other person. Norton Rose Fulbright entities reserve the right to monitor all email
communications through their networks.

Norton Rose Fulbright Australia, Norton Rose Fulbright LLP, Norton Rose Fulbright Canada LLP, Norton Rose Fulbright
South Africa Inc and Norton Rose Fulbright US LLP are separate legal entities and all of them are members of Norton
Rose Fulbright Verein, a Swiss verein. Norton Rose Fulbright Verein helps coordinate the activities of the members but
does not itself provide legal services to clients. Details of each entity, with certain regulatory information, are available at
nortonrosefulbright.com.

This e-mail is confidential and may be legally privileged. If you have received it in error, you are on notice of its status.
Please notify us immediately by reply e-mail and then delete this message from your system. Please do not copy it, use it
for any purpose or disclose its contents to any other person; to do so could be a breach of confidentiality. Thank you for
your cooperation. Please contact our IT Helpdesk at GlobalITServiceDesk@freshfields.com if you need assistance.

Freshfields Bruckhaus Deringer US LLP has offices in New York, Silicon Valley and Washington, DC. Freshfields
Bruckhaus Deringer LLP is a limited liability partnership registered in England and Wales with registered number
OC334789, and has offices or associated entities in Austria, Bahrain, Belgium, China, England, France, Germany, Hong
Kong, Italy, Japan, the Netherlands, Singapore, Spain, the United Arab Emirates and Vietnam.

Any reference to a partner means a member, or a consultant or employee with equivalent standing and qualifications, of
Freshfields Bruckhaus Deringer US LLP, Freshfields Bruckhaus Deringer LLP or any associated firms or entities.

For information about how Freshfields Bruckhaus Deringer processes personal data please refer to this Privacy notice.
For further information about Freshfields Bruckhaus Deringer, please refer to our website at www.freshfields.com.
                                                                9
    Case 4:20-cv-00957-SDJ Document 349-16 Filed 04/09/24 Page 11 of 11 PageID #: 9613
This e-mail is confidential and may be legally privileged. If you have received it in error, you are on notice of its status.
Please notify us immediately by reply e-mail and then delete this message from your system. Please do not copy it, use it
for any purpose or disclose its contents to any other person; to do so could be a breach of confidentiality. Thank you for
your cooperation. Please contact our IT Helpdesk at GlobalITServiceDesk@freshfields.com if you need assistance.

Freshfields Bruckhaus Deringer US LLP has offices in New York, Silicon Valley and Washington, DC. Freshfields
Bruckhaus Deringer LLP is a limited liability partnership registered in England and Wales with registered number
OC334789, and has offices or associated entities in Austria, Bahrain, Belgium, China, England, France, Germany, Hong
Kong, Italy, Japan, the Netherlands, Singapore, Spain, the United Arab Emirates and Vietnam.

Any reference to a partner means a member, or a consultant or employee with equivalent standing and qualifications, of
Freshfields Bruckhaus Deringer US LLP, Freshfields Bruckhaus Deringer LLP or any associated firms or entities.

For information about how Freshfields Bruckhaus Deringer processes personal data please refer to this Privacy notice.
For further information about Freshfields Bruckhaus Deringer, please refer to our website at www.freshfields.com.

**********************************************************************
Notice: The information contained in this electronic mail and any attached documents from Axinn, Veltrop &
Harkrider LLP is confidential. This email may be an attorney-client communication, and as such is privileged
and confidential. If you are not the intended recipient, be aware that any disclosure, copying, distribution or use
of the content of this information is prohibited. If you have received this electronic mail in error, please notify
us immediately by telephone (212) 728-2200/(860) 275-8100 or by reply electronic mail to the sender. IRS
Circular 230 disclosure: To ensure compliance with requirements imposed by the IRS, we inform you that any
U.S. federal tax advice contained in this communication (including any attachments) is not intended or written
to be used, and cannot be used, for the purpose of (i) avoiding penalties under the Internal Revenue Code or (ii)
promoting, marketing or recommending to another party any transaction or matter addressed herein.
**********************************************************************
**********************************************************************
Notice: The information contained in this electronic mail and any attached documents from Axinn, Veltrop & Harkrider
LLP is confidential. This email may be an attorney‐client communication, and as such is privileged and confidential. If you
are not the intended recipient, be aware that any disclosure, copying, distribution or use of the content of this
information is prohibited. If you have received this electronic mail in error, please notify us immediately by telephone
(212) 728‐2200/(860) 275‐8100 or by reply electronic mail to the sender. IRS Circular 230 disclosure: To ensure
compliance with requirements imposed by the IRS, we inform you that any U.S. federal tax advice contained in this
communication (including any attachments) is not intended or written to be used, and cannot be used, for the purpose
of (i) avoiding penalties under the Internal Revenue Code or (ii) promoting, marketing or recommending to another
party any transaction or matter addressed herein.
**********************************************************************




                                                              10
